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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
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11   PATRICIA JOHNSON,                            ED CV 20-603 PA (SHKx)
12                Plaintiff,                      JUDGMENT
13         v.
14   NEW YORK LIFE INSURANCE
     COMPANY,
15
                  Defendant.
16
     AND RELATED COUNTERCLAIM
17
18         Pursuant to the Court’s December 9, 2020 Minute Order granting the Motion for
19   Default Judgment filed by defendant and counterclaimant New York Life Insurance
20   Company (“New York Life”) against plaintiff and counterdefendant Patricia Johnson
21   (“Johnson”), and the Court’s December 30, 2020 Minute Order, which concluded that
22   Johnson had abandoned her claims and, additionally, that her default on New York Life
23   Insurance’s Counterclaim barred the claims asserted in her Complaint,
24         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Judgment is
25   entered against Johnson on both her Complaint and New York Life’s Counterclaim.
26         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, that New York Life
27   shall have Judgment as follows:
28
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 1          1.     New York Life is entitled to rescission of Certificate No. V32661401 (the
 2   “Certificate”) issued to Marinello P. Sylve.
 3          2.     The Certificate was void ab initio and not in force or effect on the date of
 4   Marinello P. Sylve’s death on July 9, 2019.
 5          3.     By reason of the rescission, Johnson has no rights under the Certificate.
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 7   DATED: December 30, 2020
                                                          _________________________________
 8                                                                   Percy Anderson
 9                                                          UNITED STATES DISTRICT JUDGE

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